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Stephen Raber, pro se
OSB#095625
P.O. Box 15189
Portland, OR 97293
(503) 235-8446, phone
(719) 457-5916, fax

                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

STEPHEN RAHER,                                                             Case No. CV 09-526-ST

                       Plaintiff
                                                     MEMORANDUM IN SUPPORT OF
       v.                                            PLAINTIFF'S MOTION TO COMPEL
                                                     DISCOVERY
FEDERAL BUREAU OF PRISONS,

                       Defendant.


I. Introduction and Factual Background

       This litigation became necessary due to defendant Bureau of Prisons' ("BOP") failure to

comply with statutory deadlines for responding to plaintiff's Freedom of Information Act request

("FOIA Request"). BOP has summarily denied the FOIA Request and responded to plaintiff's

subsequent inquiries with contradictory information. vague objections, and repeated refusals to

informally resolve this matter. Thus, the roots of this suit lay in the government's failure to

communicate with specificity the basis for its actions-a noteworthy fact, given the posture of

the current discovery dispute. BOP's uncooperative and recalcitrant attitude has persisted

throughout the course of this litigation-a lawsuit which would not demand significant time

from the parties or the court, but for BOP's unnecessarily antagonistic approach.

       The docurn:ents that plaintiff seeks relate to a series of procurement actions undertaken by

BOP (the "CAR Series"). After plaintiff filed this suit, BOP assembled some documents which




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were responsive to the FOIA Request and sent them to the parties which had bid as part of the

CAR Series, asking the bidders if any information should be withheld from plaintiff (the "June

22 Letters"). Raber Decl.," 1-2, Ex. A. On July 23, 2009, BOP sent plaintiff what it claimed

were the documents responsive to plaintiff's FOrA Request, along with a list of claimed FOIA

exemptions ("First Vaughn Index"). Raber Decl., , 3, Ex. B. Plaintiff subsequently wrote to

BOP's counsel, noting that the documents covered by the First Vaughn Index failed to include

several categories of documents which were encompassed by the FOIA Request. Raber Decl., ,

4, Ex. C. Accordingly, on November 13, 2009, BOP sent plaintiff another round of documents

and list of claimed exemptions ("Second Vaughn Index"). Raber Decl. , 5, Ex. D.

       After carefully examining both Vaughn indices, plaintiff found most of BOP's

descriptions of withheld information to be inadequate due to a lack of detail which prevents

testing the applicability of FOIA exemptions. Additionally, many of the exemptions which BOP

asserts appear highly questionable given the unredacted portions of the documents that have been

produced thus far. See Ex. A to this memorandum; Raber Decl. 'N 4, Ex. C.

       Since BOP's primary objection appears to tum on a claim of confidentiality, plaintiff

attempted to determine whether the bidders' even had a legitimate expectation of confidentiality.

To this end, plaintiff asked BOP's counsel for any correspondence BOP received from bidders in

response to the June 22 Letters (as well as any similar correspondence generated in connection

with the Second Vaughn Index). Raber Decl. , 6, Ex. E. BOP refused, claiming the documents

were "outside [the] FOIA request." Raber Decl., , 7, Ex. F.

       As a result of BOP's consistent failure to address relevant FOIA issues with specificity,

plaintiff was left with no other option than to serve BOP with a formal request for production of

documents and a set of eight interrogatories. Raber Decl., " 8-9, Exs. G and H. BOP responded




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on December 21, advancing several vague and generalized objections and refusing to answer any

of plaintiff's interrogatories. Raber DecL 110, Exs. I and J.

       BOP's objections are legally insufficient and without merit. Just as this suit originated

with the defendant's refusal to communicate, BOP's actions in discovery indicate that it will not

act cooperatively, absent an order from this court.


II. Legal Standard

       A party may serve on any other party "a request ... to produce ... any designated

documents or electronically stored infonnation" which are "in the responding party's possession,

custody, or control." Fed. R. Civ. P. 34(a). The scope of a party's request for production is

defined by Rule 26(b), which allows parties to obtain discovery of "any nonprivileged matter

that is relevant to any party's claim or defense." Fed. R. Civ. P. 26(b)(1).

       Requests for production are "an essential part of a liberal and integrated scheme for the

full disclosure of relevant information between the parties that will facilitate the prompt and just

disposition of their litigation." 8A Charles Wright, Arthur Miller, and Richard Marcus, Federal

Practice and Procedure [hereafter "Wright & Miller"] § 2206, at 378-379 (1994). A request for

production may be proper even if it causes hardship for the responding party. Id. § 2214, at 438-

439 ("The mere fact that compliance with an inspection order will cause great labor and expense

or even considerable hardship and possibility of injury to the business of the party from whom

discovery is sought does not of itself require denial of the motion.") (footnotes omitted).

       Similarly, a party may serve any other party with interrogatories concerning "any matter

that may be inquired into under Rule 26(b)." Fed. R. Civ. P. 33(a)(2). If an interrogated party

does not answer an interrogatory, it must state its objections "with specificity," or any objection

is waived. Fed. R. Civ. P. 33(b)(4).



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        Objections are proper if interrogatories exceed the scope of Rule 26(b) or are oppressive,

burdensome, or unnecessary. Wright & Miller § 2174, at 297-311 (1994). BOP's objections

lack any specificity. Indeed, BOP's objection to the current interrogatories set forth no grounds

on which an objection can properly rest. Instead, BOP advances a strained theory that there is

somehow an implied exception to discovery in FOIA lawsuits.

        The propriety of plaintiff's request for production is explained in the next section. The

subsequent section explains the propriety of plaintiff's interrogatories. The final section

addresses the inadequacy of BOP's theory of a FOIA-based discovery exemption.


III. Plaintiff's Request for Production is Proper Because it Seeks Information Relevant to
     BOP's Claimed Exemptions

        The bulk of BOP's redactions are based on FOIA's "Exemption Four." 5 U.S.C. §

552(b)(4) (exempting "trade secrets and commercial or financial information obtained from a

person and privileged or confidential" from disclosure under FOIA). BOP does not explicitly

claim that any of the withheld information constitutes trade secrets or privileged information

(although by not answering plaintiff's seventh interrogatory, BOP has refused to clarify this

issue, see infra at 7), thus it appears by implication that most redactions are based on a claim of

confidentiality..

        Exemption Four can apply to non-trade secret information if either the government or the

supplier ofthe information has a legitimate expectation of confidentiality. See Nat'i. Parks and

Conservation Ass'n. v. Morton,498 F.2d 765, 767 (D.C. Cir. 1974) (Exemption Four "has a dual

purpose. It is intended to protect interests of both the Government and the individual [who

supplies information to the government].") None of the claimed exemptions in the two Vaughn

cite any governmental interest in confidentiality. Therefore, the exemptions must be based on




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the bidders' claims of confidentiality. The bidders' actual requests for confidential designation

(and, presumably, a legal justification for such treatment) are contained in the correspondence

which plaintiff seeks in his request for production. See Raher Decl., " 1 and 6.

       The infonnation plaintiff seeks through his request for production is clearly within the

scope of Fed. R. Civ. P. 26(b). Nothing indicates the information is privileged. Thus, plaintiff's

request for production is proper and BOP's objections should be overruled.


IV. Plaintift"s Interrogatories Are Proper Because They Seek Information Relevant to
    BOP's Claimed Exemptions and the Adequacy of BOP's Search

       Plaintiff's interrogatories are included in their entirety as Exhibit H to the Declaration of

Stephen Raher. As discussed in this section, plaintiff's use of interrogatories is justified and

comprises a key component of his anticipated argument for swnmary judgment. BOP claims it

has provided all responsive records and that all claimed exemptions are legitimate, despite

substantial evidence to the contrary. Plaintiff's interrogatories seek straightforward information

so that plaintiff may provide this court with a clear record showing why an order should issue

requiring BOP to conduct a thorough search for records, and provide plaintiff with largely

unredacted documents. These issues are illustrated by reviewing the interrogatories in order.

       Interrogatories 1 and 2 seek information on BOP's process of evaluating the bids it

received during certain phases of the CAR Series. Plaintiff's FOIA Request sought documents

relating to ''the solicitation, evaluation, and issuance" ofcertain government contracts.

Complaint, Ex. A (emphasis added). BOP has not produced any records pertaining to bid

evaluation, nor has it provided plaintiff with any explanation of why such records would not be

available. The first and second interrogatories simply seek a description of the bid review and

award process so as to inform the court when it determines whether BOP has conducted an




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adequate search for records. In FOIA cases the agency bears the burden of proving it has

conducted a reasonable search. Citizens Comm'n on Human Rights v. Food and Drug Admin.,

45 F.3d 1325, 1328 (9th Cir. 1995). Here, BOP is trying to avoid providing basic information

that would tend to illustrate the extent to which there are documents that would have been

discovered through a reasonable search.

       Interrogatories 3 through 5 seek to cure the insufficient document descriptions contained

in BOP's two Vaughn indices. The purpose of a Vaughn index is to "afford the FOIA requester

a meaningful opportunity to contest, and the district court an adequate foundation to review, the

soundness of the withholding." Citizens Comm 'n, 45 F.3d at 1328 (quoting Weiner v. FBI, 943

F.2d 972,977 (9th Cir. 1991)). An essential component ofa Vaughn index is a specific

description of any withheld material and the accompanying justification of the claimed

exemption. Vaughn v. Rosen, 484 F.2d 820, 826 (D.C. Cir. 1973) ("courts will simply no longer

accept conclusory and generalized allegations of exemptions.").

       BOP's two Vaughn indices are replete with vague descriptions and facially contradictory

information. The number of problems in BOP's Vaughn indices are too numerous to recite

within the confines of Local Rule 26.5(b)'s page limits, however a representative sampling of

such inconsistencies is contained herein as Exhibit A to this memorandum. The bulk of BOP's

redactions are based on FOIA's "Exemption Four." 5 U.S.C. § 552(b)(4) (exempting ''trade

secrets and commercial or financial information obtained from a person and privileged or

confidential" from disclosure under FOIA). BOP does not explicitly claim that any of the

withheld information constitutes trade secrets or privileged information, thus it appears by

implication that most redactions are based on a claim of confidentiality. As illustrated by the

examples in Exhibit A to this memorandum, much of the withheld information appears to be




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non-confidential. Accordingly, plaintiffs third, fourth, and fifth interrogatories seek to obtain

more specific descriptions of withheld information so as to determine whether BOP's claims

under FOIA's Exemption Four are justified.

       Interrogatory 6 seeks more detailed descriptions of any withheld information that pertains

to bidders' contracts with other governmental agencies. Because government contracts fall

under federal or state public records statutes, they are presumptively non-confidential unless

covered by a specific statutory exception. Nonetheless, BOP has withheld details of bidders'

government contracts without specifically citing any statutory justification. E.g., Raber Decl.

Ex. D, at 7 ("Release of other client contracts ... would cause substantial hann to the

competitive position of the submitter"). Plaintiff's sixth interrogatory seeks to elicit details

which would illustrate whether there is any justification under federal or state statute for

withholding such presumptively non-confidential information.

       InterrogatOly 7. To properly qualify under FOIA's Exemption Four, withheld

information must be either a trade secret, privileged, or confidential. Nat'/. Parks and

Conservation Ass 'no V. Morton, 498 F.2d 765, 766 (D.C. Cir. 1974). Although BOP clearly

labels most of its redactions as justified by Exemption Four, it does not always specify whether

the withheld information is a protected trade secret, privileged, and/or confidential. E.g., Raber

Decl., Ex. B (none of the Exemption Four redactions in the First Vaughn Index make any claims

of privilege or confidentiality, and BOP makes no attempt to support a claim of trade secret

status). Plaintiff's seventh interrogatory seeks to elicit specific information on how withheld

infonnation specifically qualifies for redaction under Exemption Four.

       Interrogatory 8 concerns BOP's numerous withholdings of "pricing information."

Contractor pricing information does not qualify for FOIA's Fourth Exemption if the data do not




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allow the recipient to calculate the bidder's profit margin. Pacific Architects and Engineers Inc.

v. U.S. Dept. ofState, 906 F.2d 1345 (9th Cir. 1990). Thus, to detennine the propriety of BOP's

withholding of pricing infonnation, plaintiff's eighth interrogatory seeks to detennine whether

the withheld infonnation contains the bidders' profit margins.


v. BOP's Objections to Plaintift's Discovery Requests Lack Merit
        BOP's response to plaintiff's interrogatories include two sets of objections-one labeled

"general" and one labeled as a "response." Raher Decl., Exs. rand J. BOP's general objections

are so vague as to not provide an adequate basis upon which plaintiff can fonnulate a response.

Thus, the general objections plainly violate the requirement that objections to interrogatories

"must be stated with specificity." Fed. R. Civ. P. 33(b)(4). Accordingly, this Court should

overrule BOP's general objections in their entirety.

        BOP's "response" similarly lacks specificity insofar as it does not address plaintiff's

individual interrogatories, but rather makes a general argument that the government should not

be subject to any discovery because the plaintiff's cause of action is provided by FOrA. Not

only is there no "ForA exception" to the rules of civil procedure, but the two cases cited by BOP

are entirely inapplicable to the present case.

        BOP first cites Lane v. Department ofthe Interior, for the proposition that a district court

may limit discovery in FOrA cases. Raher Decl., Exs. r and 1. While this is true as a matter of

Ninth Circuit law, the facts of Lane are dramatically different from plaintiff's case. Lane

involved a fonner government employee who was challenging her tennination. Lane v. Dept. of

Interior, 523 F.3d 1128,1131-1132 (9th Cir. 2008). After the government denied Lane's FOIA

request for certain personnel records, she filed suit under FOIA and the Privacy Act. Id at 1132-

1134.



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       There are two reasons why Lane is inapplicable to the present dispute. First, the scope of

discovery is dramatically different. Lane sought to depose twenty people in four separate cities.

Id at 1134. Thus, the district court in Lane made the reasonable fmding that the plaintiff's

discovery request was highly burdensome. In the present case, plaintiff has submitted eight

interrogatories and one request for production of documents (collectively the "Discovery

Requests"). Both of the Discovery Requests are limited in scope. BOP has made no allegation

that the Discovery Requests are burdensome, nor has it attempted to negotiate with plaintiff to

ameliorate any objectionable portions of the requests.

       Second, the plaintiff in Lane was using the discovery process to obtain ''the very

infonnation that [was] the subject of [her] FOIA complaint." Id Here, plaintiff is not using the

Discovery Requests to obtain the documents he seeks, but rather to obtain material information

relevant to the summary judgment process.

       The second case that BOP relies upon is Lawyers' Committee for Civil Rights ofSan

Francisco Bay Area v. u.s. Department ofthe Treasury. As with Lane, the facts of Lawyers'

Committee are so different from the present case that BOP's reliance is misplaced. The district

court in Lawyers' Committee denied discovery in a FOIA suit, yet the court's reasoning clearly

shows that the decision is not analogous to the present dispute. Specifically, the court noted that

"[d]iscovery is usually not permitted in a FOIA case ifthe government's affidavits were made in

good faith andprovide specific detail about the methods used to produce the information."

Lawyers' Comm. for Civil Rights ofSan Francisco Bay Area v. U.S. Dept. ofthe Treasury, 534

F.Supp.2d 1126, 1131 (N.D. Calif. 2008) (emphasis added). The Lawyers' Committee decision

actually supports plaintiff's discovery requests, specifically the observation that discovery is

appropriate if "an agency has not taken adequate steps to uncover responsive documents." Id at




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1132 (quoting Schiller v. INS, 205 F.Supp.2d 648 (W.D. Tex. 2002)).

       Given the documents included in the two Vaughn indices, BOP is apparently arguing that

it reviewed several bids and awarded multiple contracts for hundreds of millions of dollars

without generating any internal documents evaluating the bids. This argument is not only

contrary to general principles of govenunent contracting, but it also suggests that BOP has failed

to conduct an adequate search for records. Given this background, the Lawyers' Committee

holding that discovery is appropriate in such circumstances suggests that this court should act to

compel BOP's cooperation in discovery.


VI. This Court Should Hold Oral Argument on Plaintiffs Motions

       At the outset of this litigation, BOP's counsel indicated a desire to resolve plaintiff's

grievances through informal negotiation-a proposal which plaintiff was entirely willing to

accept. Yet, over the course of this suit, BOP has apparently rejected its counsel's approach and

is instead content to flaunt both the FOIA and the rules of this court. Its response strongly

suggests BOP has failed to conduct an adequate search. In addition, BOP has refused plaintiff's

infonnal request for documents and now refuses to cooperate in formal discovery. Accordingly,

plaintiff has little hope that BOP will cooperate so as to allow this case to be resolved within the

present deadlines imposed by this court. For this reason, plaintiff respectfully asks that this

motion be set for oral argument so that both parties may discuss calendar issues with the court.


                                              Respectfully submitted,

                                                  ~~
                                              Stephen Raher, pro se




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Raber v. Federal Bureau of Prisons, CV 09-526-ST
Exhibit A, Memorandwn in Support of Plaintiff's Motion to Compel Discovery

BOP's          BOP's Justification for Withholding                     Description andlor Context of Withheld           Problem(s)
Document #                                                             Information
Supp.          "Information withheld pertains to specific              Withheld information includes bidder's           A plan for soliciting subcontractors is
Vaughn Ind.    subcontractors, including relationship with offeror,    response to BOP's request for "a description     presumptively non-confidential because
Doc. #24       reasoning behind the specific subcontracting            of the efforts your company will make to         it entails soliciting parties with whom the
(pp.19-20)     percentage goals, designation of inclusion or           ensure that small, small disadvantaged,          solicitor has no prior relationship, and
               exclusion of indirect and overhead costs in             women-owned, HUBZone, veteran-owned,             upon whom it has not imposed a
               calculations of subcontracting goals."                  and service-disabled veteran owned small         condition of confidentiality.
                                                                       business concerns will have an equitable
                                                                       opportunity to compete for subcontracts."
Supp           All redactions in these two documents are based         BOP has withheld at least five attachments       Each bidder was instructed it "must
Vaughn Ind.    on FOIA's Exemption Four (confidential                  included with abidder's proposal.                annotate each individual item it
Docs. # 27-    information)                                                                                             considers privileged or confidential
28                                                                                                                      under the FOIN (Doc. # 36, at 11), yet
                                                                                                                        only one of the five withheld
                                                                                                                        attachments in Docs. 27 and 28 was so
                                                                                                                        labeled.
Supp.          "Withheld information provides narrative for the        The "decisional rule criteria" (DRC) refers to   Operation of acorrectional facility is an
Vaughn Ind.,   Decisional Rule Criteria which is adescription of       the portion of the BOP's request-for-            inherently public activity. BOP does not
Doc. #37       similar detention services and facilities provided      proposals guidelines that requires each          indicate how the broad level of
(pp. 12-14)    by offeror. The redacted information form [sic]         bidder to "demonstrate at the time of            description called for by the DRC ends
               these pages is information detailing specific           proposal submission [that] it has corporate      up containing confidential information.
               commercial and competitive information regarding        experience operating secure                      Moreover, even if there is confidential
               offeror's management of these specific facilities."     corrections/detention facilities for a           information in the bidder's answer, it is
                                                                       continuous three year period as of the date      doubtful that all three pages must be
                                                                       the RFP was issued." (Doc. 36, at 1).            withheld in their entirety.
Supp.          "Specific documents or specific sections of these       Redactions include: 1) a list of states in       1) Plaintiff is unaware of any state
Vaughn Ind.,   contracts which [sic] contain confidential business     which the bidder is licensed to do business,     business licensing regime which treats
Doc. #38       information the release of which would be               and 2) letters requesting "non-confidential      licensee's status as confidential. 2)
               substantially harmful to offeror's competitive          credit reference information" (emphasis          BOP claims confidentiality of information
               position."                                              added).                                          which is labeled as "non-confidential."
